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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                        PENSACOLA DIVISION


UNITED STATES OF AMERICA

v.                                                    Case No. 3:16cr42-MCR

KYLE JAMES CORBI
_______________________________/

                   ACCEPTANCE OF PLEA OF GUILTY

      Pursuant to the Report and Recommendation of the United States Magistrate

Judge, to which there have been no timely objections, the plea of guilty of the

Defendant, KYLE JAMES CORBI, to Count One of the Indictment is hereby

ACCEPTED. All parties shall appear before this Court for sentencing as directed.

      DONE and ORDERED this 10th day of August, 2016.



                               s/   M. Casey Rodgers
                               M. CASEY RODGERS
                               CHIEF UNITED STATES DISTRICT JUDGE
